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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                             BOWLING GREEN DIVISION
                       CRIMINAL ACTION NO. 1:09CR-00026-TBR(23)


  UNITED STATES OF AMERICA                                                            PLAINTIFF


  VS.


  BRICESON WALKUP                                                                   DEFENDANT


                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of

  Criminal Procedure, and has entered a plea of guilty to Count 42 of the 43-Count Third Superseding

  Indictment. After cautioning and examining the Defendant under oath concerning each of the

  subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary

  and that the offense charged is supported by an independent basis in fact containing each of the

  essential elements of such offense. I, therefore, recommend that the plea of GUILTY be accepted

  and that the Defendant be adjudged GUILTY and have sentence imposed accordingly.

         ENTERED this January 26, 2011
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                                              NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14)

  days from the date of its service shall bar an aggrieved party from attacking such Report and

  Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).

         Date of Service: January 26, 2011




  Copies:        Counsel of Record
                 U.S. Marshal
                 U.S. Probation
                 Kelly Harris, Case Manager




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